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                      GOVERNMENT’S BRIEF REGARDING
                   WILLIAM STENGER’S RELEVANT CONDUCT

                               INDEX OF EXHIBITS

Exhibit       Description
No.
     1        Choi email 7/7/2009
     2        Choi email forward with attachment 7/30/2009
     3        MOU between AnC Bio Inc and AnC Bio Vermont LLC 10/23/2009
     4        The Newport Daily Express news article 9/30/2009
     5        Mulkin Interview 5/25/2018
     6        The Caledonia Record article 7/30/2011
     7        Stenger email and packet of FDA correspondence 7/30/2010
     8        Ary Quiros email 9/22/2011
     9        Stenger letter to FDA 1/14/2011
    10        Stenger email 2/14/2011
    11        Choi email 3/23/2011
    12        Letter from Stenger to Wentz 5/18/2011
    13        Excerpted Amended Offering Memorandum
    14        Stenger email 1/22/2013
    15        Quiros email 11/30/2011
    16        Kelly email with AnC Bio VT financials attachment 5/28/2012
    17        Gulisano email with attachment 5/31/2012
    18        Stenger email 8/20/2012
    19        Kelly email with attachment 6/12/2012
    20        Excerpted Original Offering Memorandum
    21        Excerpt of USCIS Economist AnC Job Calculation Spreadsheet
    22        Stenger email 11/7/2012
    23        Stenger marketing letter with attachments 9/2012
    24        Choi email 10/1/2012
    25        Kelly email 5/1/2013
    26        Ike Lee email with attachment 4/21/2013
    27        Stenger email 1/31/2015 and Power Point
    28        Kelly email with attachment 10/26/2013
    29        Kelly email 1/7/2014
    30        Jake email 6/27/2014
    31        Humbert letter to Kessler 2/15/2013
    32        Stenger Email 2/27/2013
    33        Request for Evidence to Shen 10/11/2013
    34        Raymond email 10/17/2013
    35        Ike Lee email 10/24/2013

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36       AnC Bio Business Plan 8/2012
37       Choi email with attachment 10/23/2013
38       Choi email 10/24/2012
39       Andra Miller interview 9/17/19
40       Stenger Letter to USCIS 10/29/2013
41       Choi email 12/31/2013
42       Stenger memorandum 2/2014
43       Ike Lee email 5/2/2014
44       Ike Lee email 5/5/2014
45       Stenger text messages 5/21/2014
46       Stenger email 11/7/2014
47       Stenger email attaching memo 1/2/2015
48       Stenger letter to Moulton with attachments 1/8/2015
49       Stenger email 1/5/2015
50       Wong email 1/7/2015
51       Wong email 1/9/2015
52       Frost and Sullivan AnC Packet 3/2015
53       Stenger response to VTDigger 11/13/2015
54       Stenger email 4/2/2015
55       Stenger letter to potential investors 8/14/2015
56       Quiros letter 11/16/2007
57       Kelly email with attachment 12/14/2007
58       Stenger memorandum 1/25/2008
59       Term Sheet 2/4/2008
60       Conference call minutes 2/15/2008
61       Quiros fax 3/12/2008
62       Scribner email 5/15/2008
63       Scribner email chain 6/17/2008
64       Burstein email and PowerPoint 3/24/2008
65       Stenger memorandum 4/2/2008
66       Stenger memorandum 4/16/2008
67       Quiros email 4/22/2008
68       Naymark email 5/23/2008
69       Naymark email 5/20/2008
70       Gillett letter 6/18/2008
71       Stenger email 6/18/2008
72       Stenger letter 6/23/2008
73       Stenger letter 6/30/2008
74       QResorts contract 9/17/2008
75       Lama Declaration 3/3/2016
75       Lama Declaration 3/3/2016


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 76       Webster email 6/3/2008
 77       Laplante email 6/5/2008
 78       Stenger email 6/10/2008
 79       Stenger memo 6/10/2008
 80       Dupont interview 5/10/2016
 81       Dupont email with attachment 1/27/2009
 82       Stenger letter 5/25/2008
 83       Dupont email 1/28/2009
 84       Dupont email 2/12/2009
 85       Dupont email 3/9/2008
 86       Dupont email 3/18/2008
 87       Carpenter interview 4/6/2016
 88       Stenger email 4/7/2011
 89       Webster email 1/7/2009
 90       Mallah Furman review 3/25/2010
 91       Hulme email 5/25/2010
 92       Hulme email with attachments 8/31/2010
 93       Carpenter Declaration 10/30/2015
 94       Gulisano letter 3/12/2011
 95       Stenger email with attachment 5/16/2011
 96       Stenger email 5/23/2011
 97       Stenger email 8/25/2015
 98       Stenger email 8/25/2011
 99       Stenger email 7/2/2011
100       Hulme emails 9/12/2010
101       Gulisano email with attachment 10/26/2011
102       Stenger email 10/12/2011
103       Hulme email with attachment 12/30/2011
104       Stenger email 1/8/2012
105       Kelly email 1/11/2012
106       Gulisano email 1/11/2012
107       Lodge and Townhouse Payback Chart
108       Bennett email with attachment 1/27/2012
109       Hulme email 2/9/2012
110       Stenger email 2/10/2012
111       Stenger email 2/13/2012
112       Hulme email 2/13/2012
113       Stenger letter 2/14/2012
114       Hulme email 2/16/2012
115       Lindsey email 2/23/2012
116       Stenger letter 2/24/2012


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117       Quiros fax 2/24/2012
118       Stenger letter 2/27/2012
119       Lindsey email 2/28/2012
120       Brinson email with attachments 2/29/2012
121       Hulme letter 2/28/2012
122       Kelly email with attachments 3//7/2012
123       Candido interview 9/9/2019
124       Balance Sheets 12/31/2011
125       Stateside Authorizations
126       Gulisano email with attachments 9/6/2012
127       Kelly email 2/13/2013
128       Choi email 9/22/2011 with excerpt of attachment
129       Choi email with attachment 11/22/2012
130       Kelly email 12/26/2012
131       Gulisano email with attachment 11/20/2013
132       Gulisano email 2/21/2014
133       Stenger text messages 9/26/2013
134       Stenger text messages 9/25/2013
135       Quiros letter 10/14/2013
136       Stenger authorizations 2/24/2014
137       Gulisano email 2/25/2014
138       Kim and Jang Declarations 5/25/2014
139       Stenger text messages 5/22/2014
140       Stenger text messages 5/23/2014
141       Gordon email 5/25/2014
142       Gordon billing records 5/27/2014
143       Stenger authorizations 6/17/2014, 8/26/2014 and 10/1/2014
144       Stenger text messages 5/21/2015
145       Stenger text messages 6/17/2015
146       Stenger text messages 7/10/15
147       Stenger text to Quiros 7/12/2015
148       SEC Subpoena for QResorts 5/29/2013
149       SEC subpoena for Jay Peak, Inc. 7/2/2013
150       Kelly email 11/10/2013
151       Stenger email with attachment 11/11/2013
152       Jay Peak SEC production 11/22/2013
153       Kelly email 12/9/2013
154       Stenger email 12/10/2013
155       Gordon letter with production 12/16/2013
156       Stenger SEC Interview at 47-67
157       Stenger SEC interview at 303-307


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158       Kessler letter 11/7/2014
160       Gordon letter 11/24/2014
161       Scribner email 11/24/2014
162       Stenger email 8/4/2014
163       Raymond email 12/3/2014
164       Kelly chart 2/20/2015
165       AnC expenditures 3/11/2015
166       Gordon letter 2/27/2015
167       Stenger email 12/4/2014
168       Stenger email 3/4/2015
169       Stenger email 2/25/2013
170       Stenger email 4/2/2013
171       Stenger email 5/3/2013
172       Button email with attachments 5/21/2013
173       Stenger email 5/13/2013
174       Stenger email 8/6/2013
175       Raymond email 9/7/2012
176       The New York Times article 12/30/2012
177       2013 marketing brochure
178       2014 marketing brochure
179       Stenger email with attachment 10/15/2013
180       Agenda 6/27/2014
181       Kessler letter 7/9/2014
182       Stenger email 4/2/2015
183       Shen email 7/18/14
184       Button email 7/25/2014
185       Stenger email 7/23/2014
186       Campbell email 2/15/2016
187       Davis email 10/8/2015
188       June 2015 EB-5 News
189       Stenger emails 8/26/2015
190       Stenger email 5/14/2014
191       Kelly email 11/12/2014
192       Stenger email 6/03/2015
193       Gordon email 3/5/2015
194       Leamy email 11/24/2015
195       Stenger letter 9/14/2015
196       Ary Quiros email with attachment 8/4/2009
197       Choi email 6/26/2013
198       Ike Lee email with attachment 10/23/2013
199       Kevin Lear letter to Cavin Jang 12/18/2013


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200       David Gordon letter to SEC 3/13/2014
201       Frost and Sullivan document to Stenger 01/07/2015
202       Hulme email 5/2/2011
203       Stenger authorization 12/12/2012
204       Stenger authorization 4/9/2013
205       Stenger email 06/24/2014
206       Stenger email 9/16/2015
207       Stenger email 10/30/15




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